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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

LEAGUE OF UNITED LATIN                             §
AMERICAN CITIZENS, et al.,                         §
                                                   §
                Plaintiffs,                        §
                                                   §
                                                            EP-21-CV-00259-DCG-JES-JVB
EDDIE BERNICE JOHNSON, et al.,                     §
                                                                    [Lead Case]
                                                   §
                Plaintiff-Intervenors,             §
                                                                              &
v.                                                 §
                                                   §
                                                                  All Consolidated Cases
GREG ABBOTT, in his official capacity as           §
Governor of the State of Texas, et al.,            §
                                                   §
                Defendants.                        §

                                               ORDER

        The Court GRANTS the “United States’ Unopposed Motion to Set a Joint Status

Conference and Final Pretrial Conference” (ECF No. 552).

         The Court SETS a status conference and final pretrial conference for September 15,

2022 at 11:00 a.m. in Courtroom Number 812, on the Eighth Floor of the United States

Courthouse, 525 Magoffin Avenue, El Paso, Texas.

        In its Motion, the United States indicates that, in its estimation, the current trial setting

may not be feasible. In view thereof, the Court ORDERS the parties to file a JOINT BRIEF

regarding their positions on proceeding to trial as scheduled. If one or more of the parties

believes that it is unlikely that the current schedule can be met, those parties shall propose

alternative dates. The parties SHALL FILE their joint brief by August 26, 2022.




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      So ORDERED and SIGNED this 22nd day of August 2022.




                                               __________________________________
                                               DAVID C. GUADERRAMA
                                               UNITED STATES DISTRICT JUDGE

                                       And on behalf of:

Jerry E. Smith                                             Jeffrey V. Brown
United States Circuit Judge                   -and-        United States District Judge
U.S. Court of Appeals, Fifth Circuit                       Southern District of Texas




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